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 1                  IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF COLUMBIA

 3   UNITED STATES OF AMERICA       .
                     Plaintiff,     .
 4   vs.                            .      Docket No. CR 17-46
                                    .
 5   KASSIM TAJIDEEN                .      Washington, D.C.
                                    .      March 29, 2017
 6                   Defendant.     .
     . . . . . . . . . . . . . . . .x      11:12 a.m.
 7

 8              TRANSCRIPT OF STATUS CONFERENCE HEARING

 9        BEFORE THE HONORABLE SENIOR JUDGE REGGIE B. WALTON

10                     UNITED STATES DISTRICT JUDGE

11   APPEARANCES:

12   For the Government:     Thomas Gillice, AUSA
                             Jacqueline Barkett, AUSA
13                           Deborah A. Curtis, AUSA
                             UNITED STATES ATTORNEY'S OFFICE
14                           National Security Section
                             555 Fourth Street, NW
15                           Washington, DC 20530

16                           Joseph Palazzo, Trial Attorney
                             U.S. DEPARTMENT OF JUSTICE
17                           1400 New York Avenue, NW
                             Washington, DC 20530
18

19   For the Defendant:      David Bowker, Esquire
                             Ronald Meltzer, Esquire
20                           WILMER HALE
                             1875 Pennsylvania Avenue, NW
21                           Washington, DC 20006

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 1   Court Reporter:   Cathryn J. Jones, RPR
                       Official Court Reporter
 2                     Room 6521, U.S. District Court
                       333 Constitution Avenue, N.W.
 3                     Washington, D.C. 20001

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 7   Proceedings recorded by machine shorthand, transcript
     produced by computer-aided transcription.
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 1                        P R O C E E D I N G S

 2             THE DEPUTY CLERK:        Your Honor, this morning this

 3   is the matter of United States versus Kassim Tajideen.           This

 4   is Criminal Record 17-46.        Ask the parties to step forward

 5   to the podium and identify yourselves for the record,

 6   please.

 7             MR. GILLICE:     Your Honor, good morning, Tom

 8   Gillice along with Joseph Palazzo, Jacqueline Barkett and

 9   Deborah Curtis on behalf of the United States.

10             THE COURT:     Good morning.

11             MR. BOWKER:     Your Honor, good morning, David

12   Bowker with the Wilmer Hale law firm for Mr. Tajideen.           I'd

13   like to introduce Mr. Tajideen, who's here this morning and

14   my partner, Ron Meltzer with the Wilmer Hale law firm.

15             THE COURT:     Good morning.

16             MR. BOWKER:     Thank you, your Honor.

17             THE COURT:     Okay.     There were requests for pro hoc

18   vice admission; is that right?

19             MR. BOWKER:     Yes, your Honor.     And your Honor

20   again David Bowker with Wilmer Hale.        There are two issues

21   we wanted to address with your Honor this morning.         First is

22   the pro hoc vice motion for Mr. Chibli Mallat, who's here

23   this morning.   Mr. Mallat is in the back, just stood for

24   you, your Honor.   And also --

25             THE COURT:     What's his status?
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 1                MR. BOWKER:     His status is that he has a pending

 2   pro hoc vice motion.        He's a lawyer licensed to practice in

 3   Lebanon, who is not licensed to practice here in Washington,

 4   D.C. --

 5                THE COURT:     Does our local rule permit somebody

 6   from another country?

 7                MR. BOWKER:     Yes, it does.   And the relevant rule,

 8   your Honor, and we're happy to provide a brief for you on

 9   this.     But the relevant rule is in the rules of this Circuit

10   provide at 46(c)12 and 13, that a foreign lawyer can be

11   admitted on a temporary basis in connection with a

12   particular matter.        The idea here would be to have your

13   Honor grant the pro hoc vice for purposes of Mr. Mallat's

14   advising of the client, working closely with the Wilmer Hale

15   law firm, but not to appear in front of your Honor and not

16   to be on the papers.        Rather to continue to consult with the

17   client as he has now for seven years in conjunction with our

18   firm.

19                Just to give you a bit of background, our firm was

20   retained by Mr. Tajideen roughly seven years ago in

21   connection with his listing as a specially designated global

22   terrorist by the Department of the Treasurer, Office of

23   Foreign Assets Control, the OFAC office.         Mr. Tajideen has

24   insisted for all these years that he is not who the U.S.

25   government says he is.        He's not a supporter of the
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 1   Hizballah organization.      He opposes terrorism.     He's been

 2   improperly listed.      And we have been working with him for

 3   the past seven years to persuade the U.S. government of

 4   that.   We haven't succeeded yet, but we've produced reams of

 5   documents and lots of information to the U.S. government,

 6   and been in constant communication with the government to

 7   persuade them.

 8              During that process, Mr. Mallat has been extremely

 9   helpful to the Wilmer Hale firm and to the client in

10   interpreting for the client what the relevant issues are,

11   what the relevant questions are, what that means culturally,

12   what that means legally in Lebanon and has just been an

13   indispensable part of the team and we would like to continue

14   working with Mr. Mallat if your Honor would permit.

15              THE COURT:     Well, I'll have to look again at the

16   local rule.   I was away in Pittsburgh because I'm trying

17   cases up there because of a shortage of judges they have and

18   I really didn't have the opportunity to do any research on

19   the issue as to whether a foreign lawyer could be admitted

20   under our local rules, so I'll have to look at our rules

21   again to see and maybe something from you, you can get

22   something to us as quickly as possible so I can go ahead and

23   make a ruling in reference to that.

24              MR. BOWKER:     Why don't we do that.     Why don't we,

25   before, by the end of the week provide you with a brief on
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 1   the issue so that you can be preferred to the relevant

 2   rules.

 3              THE COURT:     That would be helpful.

 4              MR. BOWKER:     And would it help to attach something

 5   more about Mr. Mallat's background?

 6              THE COURT:     Yes.

 7              MR. BOWKER:     We will do that.   He's an outstanding

 8   lawyer with a very fine reputation.       He has his LLM from

 9   Georgetown law.   He's been here in the United States for

10   many years teaching at the University of Utah, has taught at

11   UVA, at Princeton, at Berkeley, and Yale.        And is really a

12   very outstanding lawyer and we'll go ahead and document that

13   for your Honor.

14              THE COURT:     That would be helpful.

15              MR. BOWKER:     I don't think our friends with the

16   government would oppose the motion, but I'll let them speak

17   to that.

18              THE COURT:     Is there any opposition to that?

19   Obviously, I'll be controlled by our local rules and

20   whatever they require or permit.

21              MR. GILLICE:     Your Honor, we haven't had to chance

22   to look into the local rules.      We trust the Court to make

23   that determination.

24              THE COURT:     Very well.   And you said there was a

25   second matter?
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 1             MR. BOWKER:    The second matter is on a very

 2   serious issue that the government has raised regarding a

 3   potential conflict involving our firm, Wilmer Hale.         The

 4   government's concern, and I think it's a legitimate concern,

 5   is that our firm has been representing the, Mr. Tajideen for

 6   seven years in these communications with OFAC, and with the

 7   United States government and attempting to persuade the U.S.

 8   government that, that he is not a supporter of Hizballah and

 9   not a terrorist and not someone who should be on the list.

10             And the government's concern is that if and when

11   this matter is tried that our firm might have a conflict

12   because the government's case might put at issue the

13   truthfulness of the firm's communications with treasury in

14   that process.   Now obviously we take the view that our

15   communications were truthful, that they were open and candid

16   in every way, but the government doesn't yet have the

17   information we have and may take a different view obviously

18   based on that information, so a potential conflict could

19   arise.

20             In order to address that issue early we are

21   working to retain an independent lawyer from another firm

22   who can step in and advise the client on how he should think

23   about this issue, whether he should continue to work with

24   our firm, or whether now would be a good time to retain new

25   counsel for purposes of preparation for trial and trial.
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 1   Our view very preliminary at this stage because we haven't

 2   yet given this full consideration, but our preliminary view

 3   --

 4               THE COURT:     Let me just ask, is it correct the

 5   government would intend to have them recused because of a

 6   conflict?

 7               MR. GILLICE:     Your Honor, the government does

 8   believe there's a conflict in this case.       It appears to us

 9   preliminarily that it's not waivable so at this point

10   barring more information from defense counsel it appears to

11   us that that would be appropriate.

12               THE COURT:     If it's going to be challenged then

13   obviously I'm going to need briefing on the issue and we

14   need to probably try and do that as expeditiously as

15   possible.    When would you know?     Or are you definitive now

16   there is going to be a challenge on the grounds of a

17   conflict?

18               MR. GILLICE:     Your Honor, as far as we can see now

19   if the trial were tomorrow we believe that lawyers from

20   Wilmer Hale would likely have relevant testimony, likely be

21   witnesses for one side or the other.       And so yes, we believe

22   that, that at this point we understand a conflict exists.

23               THE COURT:     Okay.

24               MR. BOWKER:     Your Honor, if I may just a quick

25   word on that.    The relevant rule of professional conduct is
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 1   3.7 referring to lawyer as witness.       And what that rule

 2   states is that a lawyer shall not act as advocate at a trial

 3   in which the lawyer is likely to be a necessary witness.

 4   And then there's some exceptions.

 5             A couple of points.      Number one, we don't know if

 6   this matter will go to trial.      If it does go to trial we

 7   would not have working on the matter any lawyer who would be

 8   a potential witness.     And the purpose of retaining

 9   independent counsel for Mr. Tajideen is so that counsel can

10   advise Mr. Tajideen on the likelihood that any of this, that

11   any lawyer with the Wilmer Hale firm would quote likely be a

12   necessary witness.     We think it's entirely possible that we

13   wouldn't be needed as witnesses.

14             I personally didn't work on the OFAC delisting

15   matter and don't have the same issues under this rule that

16   my partner Mr. Meltzer may have.      But the point is that it's

17   entirely premature to make this decision before we can get

18   independent counsel involved, figure out what issues really

19   are going to be the subject of any trial, and make a

20   decision when we have more information.       We understand the

21   government's point of view.     We think it would be a

22   tremendous hardship to our client to switch lawyers now

23   before the issue really is ripe given that we --

24             THE COURT:     When do you project the issue would

25   become ripe?
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 1                MR. BOWKER:     Well, when we understand I think

 2   better what the basis for some of the allegations are in the

 3   indictment, when we understand why the U.S. government

 4   believes that there were misrepresentations made to

 5   Treasurer.     And the point would be to have a lawyer engaged

 6   early who could help the client think about those issues

 7   independent of my firm and give good advice on when would be

 8   an appropriate time to switch if a switch is necessary.

 9                The problem with switching now or really at any

10   time is that our team at Wilmer Hale has been working with

11   Mr. Tajideen to develop the facts and to work with the U.S.

12   government for seven years.         It's a lot of work, a lot of

13   knowledge, and we think that we're better position to

14   represent him.     That said we take the conflict issue very

15   seriously and will be sure that he has the necessary advice

16   on that.

17                THE COURT:     Okay.   As I understand you all are

18   scheduled to appear before the magistrate judge today; is

19   that right?

20                MR. BOWKER:     I should note for the record that

21   yesterday evening we filed a motion to continue the

22   detention hearing.        We're not going to contest the detention

23   at this time, but it's without prejudice to bringing issues

24   to your Honor at the appropriate time.

25                THE COURT:     So you don't need to appear before the
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 1   magistrate judge?

 2              MR. BOWKER:     We don't need to appear before the

 3   magistrate unless the government has a different view.

 4              MR. GILLICE:     Your Honor, we had a phone call with

 5   the magistrate's chambers during which we were told that the

 6   filing that Wilmer Hale put together with regard to the

 7   defendant's waiver of his concession on detention would be

 8   sufficient, and that therefore, the judge would be canceling

 9   the detention hearing.      We have not heard formally or seen

10   an ECF notice that the hearing has actually been canceled

11   but we certainly have no reason to doubt that it would be.

12              THE COURT:     Very well.

13              MR. BOWKER:     Your Honor, I should be clear that

14   that's without prejudice to coming back to your Honor at the

15   appropriate time if we decide to contest the detention.

16              THE COURT:     Well, I assume he has not been

17   arraigned at this point, right?

18              MR. GILLICE:     He has been arraigned.

19              THE COURT:     He has been arraigned?     Okay.   So we

20   just need to set a next hearing date so that we can get this

21   matter moving.    It seems to me that until the issue of

22   whether there's a conflict is resolved that there should be

23   a tolling of the Speedy Trial Act because obviously we can't

24   move forward until that issue is resolved.         And I don't

25   think that should be held against the government since it's
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 1   obviously an issue that has to be resolved that conceivably

 2   inures to your client's benefit.        If you disagree with that

 3   I'll hear from you.

 4              MR. BOWKER:     No, we agree, your Honor.

 5              THE COURT:     Government?

 6              MR. GILLICE:     We agree.

 7              THE COURT:     Then I would, obviously we've got to

 8   try to get this done as soon as so he's not detained longer

 9   than he has to be detained if detention is not appropriate.

10   But I would conclude based upon what's been represented to

11   me today about the issue regarding whether there is a

12   conflict and the need for current counsel representing the

13   defendant to further assess that issue and to retain the

14   services of other counsel to provide advice to him in the

15   event that it's determined that current counsel cannot

16   continue to represents him, that the time from now until

17   that determination of a conflict is made will be waived

18   under the Speedy Trial Act.

19              So when do we need to come back?       How long?       You

20   sort of need to give me some advice on that since you're

21   going to be I guess dictating how fast we move in reference

22   to this issue regarding the conflict?

23              MR. BOWKER:     What we know from experience is that

24   it can take firms up to a week or so to work through their

25   own conflicts and the OFAC regulations that dictate when and
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 1   how lawyers can work with SDGTs, that's the specially

 2   designated persons.      So we would expect to have a new

 3   counsel cleared to take the matter within a week or so.           We

 4   would want that counsel in the interim to be able to visit

 5   Mr. Tajideen in detention so that the two of them can talk

 6   about engaging this new counsel for this purpose.

 7              And we would ask for your Honor's permission for

 8   that new counsel to be listed as a lawyer who can meet with

 9   Mr. Tajideen, and also the lawyers on the Wilmer Hale team

10   to be able to meet with Mr. Tajideen.       We've had some

11   difficulty in getting clearance at the detention facility to

12   meet with Mr. Tajideen.      So if your Honor --

13              THE COURT:     He's detained?

14              MR. BOWKER:     At the Rappahannock facility.      And so

15   if we can just get clearance from your Honor for this

16   potential new counsel to be able to visit with him,

17   obviously we would like Mr. Mallat, whose pro hac vice

18   motion is pending --

19              THE COURT:     Once we get that from you I'll --

20              MR. BOWKER:     Once we brief that for you, to get

21   him cleared to see Mr. Tajideen providing your Honor grants

22   that motion, and then for the Wilmer Hale team to be able to

23   visit.

24              THE COURT:     Any objection to any of that from the

25   government?
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 1              MR. GILLICE:     No, your Honor.    If Mr. Bowker can

 2   provide a list we may be able to facilitate that.

 3              MR. BOWKER:     Thank you.   I think if we could have

 4   this issue of the conflict resolved by four weeks from now,

 5   April 28, I think it's a Friday, April 28, I think we can do

 6   that.

 7              THE COURT:     So you're asking to come back on that

 8   date?   Or set a date after that?

 9              MR. BOWKER:     To set a date after that so that we

10   can resolve the conflict issue.

11              THE COURT:     How long after that?

12              MR. BOWKER:     I'm looking to the government.         We

13   haven't talked about the timing, but really whenever your

14   Honor would like to see us thereafter.

15              THE COURT:     Really, and again, I don't know if

16   this is going to enough time because if not it's going to be

17   later in May.   I am available on the 8th of May.        I'm not

18   available on the 9th, probably until the 19th because I'm,

19   they have -- as I mentioned a shortage of judges in

20   Pittsburgh and because I am from the area and they knew that

21   they asked if I would be willing to come up and help out, so

22   I'm trying cases up there and I'll be up there until the 9th

23   until probably the 19th.

24              MR. BOWKER:     Your Honor, I would expect that we

25   could be ready by May 8.      I need to check calendars with our
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 1   team but --

 2              THE COURT:     If there's a problem just let us know.

 3              MR. BOWKER:     We will.

 4              THE COURT:     If there is then we probably would

 5   have to set it for the week of the 22nd.

 6              MR. BOWKER:     We will try for the 8th and let your

 7   Honor know if that does not work.

 8              THE COURT:     Okay.   I'll set this allowing -- how

 9   long do you think you'll need to be before me?         It depends

10   on whether I can do it in the morning.        May be best to do it

11   in the afternoon.

12              MR. BOWKER:     I wouldn't think we would need more

13   than an hour.

14              THE COURT:     You think it's going to be more than

15   that?

16              MR. GILLICE:     Your Honor, just for safety sake I'd

17   budget 90 minutes.

18              THE COURT:     We'd have to do it at three o'clock is

19   that good on the 8th?

20              MR. BOWKER:     I think we can make that work, your

21   Honor.

22              THE COURT:     I know I have to fly to Pittsburgh

23   that evening.   I need to find out what time my flight is

24   going to be.

25              MR. BOWKER:     Your Honor, if I may we have one
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 1   housekeeping matter to raise with you.        Our client has had

 2   some difficulty getting medications at the detention

 3   facility.     He takes blood pressure medications and some

 4   daily vitamins and aspirin.        If we could get the

 5   government's help in getting clearance to get those

 6   prescriptions delivered to him that would sure be a help.

 7                THE COURT:     I can issue an order that he receive

 8   an appropriate examination, and he be provided, if you have

 9   already doctor authorization I can order that he receive his

10   medication.     I just need a proposed order from you.

11                MR. BOWKER:     We will send that in to your Honor.

12   Thank you.

13                THE COURT:     I hate to delay this, but I can't find

14   out what time I can get to Pittsburgh.        It's unfortunately

15   because of mergers it's become a lot more difficult than

16   what it used to be.        So I can do -- yes, I'm sorry.

17                MR. BOWKER:     Would it help if we could get this

18   issue resolved on our side by the 21st of April to give your

19   Honor a little more time before that May date?

20                THE COURT:     If you can get it resolved then.      I

21   mean I'm available the week of the 24th through the, from

22   the 24th to the 27th.

23                MR. BOWKER:     We can do that if the government is

24   amenable.

25                THE COURT:     Any day that week except Friday is
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 1   fine.

 2                MR. GILLICE:     The government is available that

 3   week.   I know the Court is kind of leaning filings.          I'm

 4   unfortunately -- I think we'll be able to comply with any

 5   deadlines the Court sets.           I'll be out of town the previous

 6   week.

 7                THE COURT:     Okay.     I'll set it at the end of the

 8   week.   The 27th I'm available -- no, that doesn't -- the

 9   26th actually I'm available after 11 o'clock, 11:15.

10                MR. BOWKER:     Wilmer Hale firm is available anytime

11   that day.

12                THE COURT:     Let's do it at two then.

13                MR. GILLICE:     Very well.

14                MR. BOWKER:     Thank you, your Honor.

15                THE COURT:     Thank you.

16                MR. GILLICE:     Your Honor, one other matter I'd

17   raise with the Court.        The Court already identified -- we've

18   talked with the Court already about the fact that there will

19   be as we understand it at this point no detention hearing in

20   this case.     My request is that if we're setting this out for

21   quite some time that the Court just inquire of the defendant

22   whether or not he's conceded detention so we have that on

23   the record.     I think it would protect all parties since

24   we're setting this out for a lengthy period.

25                THE COURT:     Very well.     Does he need an
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 1   interpreter?

 2              MR. BOWKER:     No, your Honor.

 3              THE COURT:     Your name?

 4              THE DEFENDANT:     Kassim Tajideen.

 5              THE COURT:     Sir, I understand from your lawyers

 6   that you are not at this time opposing your continued

 7   detention without bond?

 8              THE DEFENDANT:     Yes.

 9              THE COURT:     You agreeable to that?

10              THE DEFENDANT:     Yes.

11              THE COURT:     Very well.    Then I will order that you

12   be detained without bond based upon your consent to that

13   detention, and that you be detained in that status until

14   further order of the Court.      We'll issue a written order to

15   that effect.

16              THE DEFENDANT:     Okay.    Thank you.

17              THE COURT:     Anything else?

18              MR. GILLICE:     Not from the government.

19              THE COURT:     We'll see you on the 26th.     Thank you.

20              [Thereupon, the proceedings adjourned at 11:38

21              a.m.]

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 1                              CERTIFICATE

 2              I, Cathryn J. Jones, an Official Court Reporter

 3   for the United States District Court of the District of

 4   Columbia, do hereby certify that I reported, by machine

 5   shorthand, the proceedings had and testimony adduced in the

 6   above case.

 7              I further certify that the foregoing 18 pages

 8   constitute the official transcript of said proceedings as

 9   transcribed from my machine shorthand notes.

10              In witness whereof, I have hereto subscribed my

11   name, this the 26th day of April, 2017.

12

13
                                     /s/_Cathryn J. Jones
14                                   Cathryn J. Jones, RPR
                                     Official Court Reporter
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                                       14/13 17/18                               away [1] 5/16
      Case 1:17-cr-00046-RBW   Document
                           above  [1] 19/6 19 Filed 04/26/17 Page 20 of 24
MR. BOWKER: [34]                                           B
                           act [3] 9/2 11/23 12/18
MR. GILLICE: [13] 3/6 6/20 8/6 8/17
                                       actually [2] 11/10 17/9                   back [4] 3/23 11/14 12/19 14/7
11/3 11/17 12/5 13/25 15/15 17/1
                                       address [2] 3/21 7/20                     background [2] 4/19 6/5
17/12 17/15 18/17
                                       adduced [1] 19/5                          Barkett [2] 1/12 3/8
THE COURT: [48]
                                       adjourned [1] 18/20                       barring [1] 8/10
THE DEFENDANT: [4] 18/3 18/7 18/9
                                       admission [1] 3/18                        based [3] 7/18 12/10 18/12
18/15
                                       admitted [2] 4/11 5/19                    basis [2] 4/11 10/2
THE DEPUTY CLERK: [1] 3/1
                                       advice [4] 10/7 10/15 12/14 12/20         be [55]
.                                      advise [2] 7/22 9/10                      because [10] 5/16 5/17 7/12 8/1 8/5
                                       advising [1] 4/14                         11/23 14/16 14/18 14/20 16/15
.x [1] 1/6
                                       advocate [1] 9/2                          become [2] 9/25 16/15
/                                      after [4] 14/8 14/9 14/11 17/9            been [13] 5/1 5/2 5/6 5/8 5/12 6/9 7/5
/s [1] 19/13                           afternoon [1] 15/11                       10/10 11/10 11/16 11/18 11/19 12/10
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